Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 1 of 30 PageID 5954




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

  FREDRICK CAMPBELL,

                  Petitioner

  vs.                                                       Case No.:        3:12-cv-881-J-34MCR
                                                                             3:09-cr-51-J-34MCR
  UNITED STATES OF AMERICA,

             Respondent
  ________________________________

                                                   ORDER

          This case is before the Court on Petitioner Fredrick Campbell’s Motion to Vacate,

  Set Aside, or Correct Sentence by a Person in Federal Custody under 28 U.S.C. § 2255,

  (Doc. 1, Motion to Vacate) and Memorandum of Law (Doc. 2-1, Supporting Memorandum)1,

  filed on August 1, 2012. The United States filed its Response to the Motion to Vacate on

  March 6, 2014. (Doc. 20, Response).

          Pursuant to 28 U.S.C. § 2255 and Rule 8(a) of the Rules Governing Section 2255

  Proceedings2, the Court has considered the need for an evidentiary hearing and determines

  that an evidentiary hearing is not necessary to resolve the merits of this action. See Aron

  v. United States, 291 F.3d 708, 714-15 (11th Cir. 2002) (indicating that an evidentiary

  hearing on a § 2255 petition is not required when the petitioner asserts allegations that are



          1
         Citations to Campbell’s criminal case file, United States of America v. Fredrick Campbell, 3:09-cr-51-
  J-34MCR, are denoted as “Crim. Doc. ___.” Citations to Campbell’s civil § 2255 case file, 3:12-cv-881-J-
  34MCR, are denoted as “Doc. ___.”
          2
            Rule 8(a) of the Rules Governing Section 2255 Proceedings requires the Court to review the record,
  including any transcripts and submitted materials, to determine whether an evidentiary hearing is warranted
  before deciding on a § 2255 motion.

                                                       1
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 2 of 30 PageID 5955




  affirmatively contradicted by the record or patently frivolous, or if in assuming the facts that

  he alleges are true, he still would not be entitled to any relief); Holmes v. United States, 876

  F.2d 1545, 1553 (11th Cir. 1989) (concluding that a petitioner’s ineffective assistance claim

  can be dismissed without an evidentiary hearing when the petitioner alleges facts that, even

  if true, would not entitle him to relief); Dickson v. Wainwright, 683 F.2d 348, 351 (11th Cir.

  1982) (“On habeas a federal district court need not conduct an evidentiary hearing if it can

  be conclusively determined from the record that the petitioner was not denied effective

  assistance of counsel.”); Patel v. United States, 252 F. App’x 970, 975 (11th Cir. 2007).3

         For the reasons set forth below, the Motion to Vacate is due to be denied.



         I.      Background

         In his Motion to Vacate, Campbell contends that his attorneys rendered ineffective

  assistance of counsel in their handling of Campbell’s Fourth Amendment motion to

  suppress evidence. Specifically, Campbell faults his attorneys for not producing evidence

  and testimony that he claims would have established a reasonable expectation of privacy

  in the items and places from which law enforcement gathered incriminating evidence.

         Law enforcement began investigating Campbell when a confidential informant

  notified the Jacksonville Sheriff’s Office (JSO) that Campbell was receiving large shipments

  of marijuana through the mail via Federal Express (FedEx) and United Parcel Service

  (UPS). (Crim. Doc. 147, Report on Recommendation on Campbell’s Motion to Suppress


         3
            Although the Court does not rely on unpublished opinions as precedent, they may be cited
  throughout this Order as persuasive authority on a particular point. Rule 32.1 of the Federal Rules of
  Appellate Procedure expressly permits the Court to cite unpublished opinions that have been issued on or
  after January 1, 2007.

                                                     2
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 3 of 30 PageID 5956




  at 2). JSO identified several addresses connected to Campbell, and then requested FedEx

  and UPS to “flag” those addresses, including one residence located at 7635 Praver Drive

  East, Jacksonville, Florida (the “Praver house”).

         On January 8, 2009, a UPS security employee notified JSO of a package addressed

  to one “Maureen Lawrence” that was destined for the Praver house. (Doc. 25, Narcotics

  Unit Incident Report attached to Petitioner’s Reply at 37; R&R at 3-4). Acting on his own,

  the UPS employee opened the package and discovered what he believed to be marijuana

  inside. R&R at 3. JSO officers arrived at the employee’s office 20 to 30 minutes later,

  where they observed the drugs sitting in plain view. An officer trained to detect narcotics

  identified the substance as marijuana. Id. The UPS employee then resealed the package

  and police officers took the parcel so they could execute a controlled delivery once they

  received an anticipatory search warrant, which they obtained later that same day. Id. at 4.



         With the warrant in hand, law enforcement proceeded to the Praver address with the

  package. An officer in plain clothes delivered the package to Campbell at approximately

  5:50 pm in the evening. Narcotics Unit Incident Report Attached to Petitioner’s Reply at

  37. Campbell stated in his trial testimony that he had been spending the day at the Praver

  house, left at some point, and then returned later in the day for the purpose of receiving the

  package. (Doc. 342, Trial Tr. Vol. V at 71, 116). When Campbell received the package,

  however, he attempted to “distance himself” from it by suggesting that it belonged to a

  sibling. R&R at 16. Nevertheless Campbell took the package, and returned inside the

  house. Id.

         Five to ten minutes later, officers forcibly entered the Praver residence to execute

                                                3
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 4 of 30 PageID 5957




  the search warrant. The officers located the UPS package in a car parked in the garage,

  along with another 50-pound container of marijuana. Id. at 8. Officers also found four

  firearms at the Praver house, including an assault rifle with a 100-round magazine. Id. at

  9. As the officers continued their search of the house for marijuana, they discovered a

  laptop with an open screen displaying a UPS tracking number, along with a money counter,

  several thousand dollars in cash, a lease agreement naming Alex Campbell as lessee of

  the Praver house, other lease agreements, and storage unit rental agreements. Id. at 9.

  These documents led the police to obtain search warrants for a house at 4708 Trevi Drive

  in Jacksonville, Florida (the “Trevi house”), and Storage Unit 226 at Atlantic Self-Storage.

          The police arrested Campbell and his brother. A search of Campbell incident to his

  arrest disclosed over $5,000 in cash and a small amount of marijuana. Id. at 11. During

  the arrest, police officers also attempted to ascertain where Campbell lived, but Campbell

  appeared evasive in his answers. Id. at 17. Campbell initially provided a Post Office (P.O.)

  box as his address, which was the address listed on his driver’s license. According to

  Campbell, the arresting officer would not accept such an address, so Campbell provided

  the Praver residence as his address. Id.; see also Doc. 25, Petitioner’s Reply at 1-2.

  However, Campbell told the attorney handling his motion to suppress that he did not live

  at the Praver house4, and testified at trial that instead he lived at a house on Ponce de

  Leon Avenue. Trial Tr. Vol. V at 107-09.

          After the Praver house search, police officers searched Storage Unit 226 pursuant


          4
             According to Campbell, he informed Haine that he was a regular guest at the Praver residence but
  did not live there. Haine became concerned about putting Campbell on the stand because “it wouldn’t be a
  good idea to tell the government you didn’t live at the Praver home, because if I were to say you didn’t stay
  at the home, you wouldn’t have standing to challenge the search.” Affidavit A-1 at ¶ 6.

                                                       4
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 5 of 30 PageID 5958




  to a search warrant, where they discovered a safe and food saver containing cash, Alex

  Lee Campbell’s birth certificate, mail addressed to Alex Lee Campbell, money gram

  receipts, and another receipt in the name of Sonia Dodd. (Crim. Doc. 214, Government’s

  Exhibit List at 5-6). Storage Unit 226 contained more than $500,000 in cash. Petitioner’s

  Reply at 39. Meanwhile, a search of the Trevi residence revealed items related to shipping,

  including money grams, hotel receipts, car rental and airline documents, storage unit rental

  agreements, and notes containing addresses, phone numbers and tracking numbers. R&R

  at 10. One of the rental agreements seized from the Trevi house led police to obtain a

  further search warrant for another storage unit, Unit 2002 at Atlantic Self-Storage. A

  search of Unit 2002 uncovered an AK-47-style assault rifle and boxes of shipping receipts

  apparently connected to shipments of marijuana. Id.

         On September 10, 2009, a grand jury sitting in the Middle District of Florida returned

  a superseding indictment charging Petitioner Fredrick Campbell, his brother Alex Lee

  Campbell, his sister Branddie Campbell, and his mother Sonia Dodd with conspiracy to

  possess with intent to distribute 1,000 kilograms or more of marijuana, in violation of 21

  U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846 (Count One). (Crim. Doc.142, Superseding

  Indictment). The indictment also charged Campbell and his brother Alex with possessing,

  causing to be possessed, and aiding and abetting in the possession with the intent to

  distribute marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18 U.S.C. §

  2 (Count Two). The indictment further charged Campbell and his brother with possession

  of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)

  (Count Three naming Petitioner Fredrick Campbell, Count Four naming Alex Lee

  Campbell).

                                                 5
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 6 of 30 PageID 5959




         Campbell’s pretrial counsel, Ross Haine, filed a motion to suppress the evidence

  obtained from the UPS employee’s search of the parcel, the police officers’ search of the

  Praver house, and the search of Storage Unit 2002. (Crim. Doc. 119, Motion to Suppress

  at 1-2). Haine also sought to exclude evidence seized from the Trevi house and Storage

  Unit 226 as the fruit of a poisonous tree derived from the searches of the UPS package and

  the Praver house. (Crim. Doc. 135, Suppression Transcript at 205-11; Motion to Suppress

  at 1-2).

         On August 12, 2009, a Magistrate Judge conducted an evidentiary hearing on

  Campbell’s and his co-defendants’ motions to suppress. The defendants did not present

  any of their own witnesses at the hearing. Campbell’s attorney relied on cross-examination

  of the government’s witnesses in an attempt to show facts demonstrating Campbell’s

  expectation of privacy in the UPS parcel and the Praver house. According to Campbell,

  Haine deliberately chose not to have Campbell testify at the suppression hearing because

  Haine stated “[i]t would not be a good idea to get on the stand because the government

  would trip you up with questions.” Supporting Memorandum at 37 n. 25.

         After the suppression hearing, the Magistrate Judge issued a detailed Report and

  Recommendation that recommended that Campbell’s motion to suppress be denied for

  failure to establish an expectation of privacy in the UPS package, the Praver house,

  storage units 226 and 2002, as well as the Trevi house. (R&R at 35-36). Additionally, in

  the Report the Magistrate Judge found that when police officers seized and inspected lease

  documents at the Praver and Trevi houses - which in turn led the officers to obtain search

  warrants for storage units 226 and 2002 - the officers exceeded the scope of the search

  warrant and could not rely on the plain view doctrine. Id. at 28-35. However, because

                                              6
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 7 of 30 PageID 5960




  Campbell neither owned, rented, lived at, nor demonstrated an unrestricted right of

  occupancy in either the Praver or Trevi houses where the unlawful searches occurred, he

  could not establish an expectation of privacy in either one. Id. at 17-20. Thus, the

  Magistrate Judge concluded that Campbell could not avail himself of the “fruit of the

  poisonous tree” doctrine. Id. at 23, 35. Only Sonia Dodd could establish an expectation

  of privacy in the Trevi house, and thus the Magistrate Judge recommended partially

  granting the motion to suppress as to Dodd but denying it as to Campbell and his brother

  Alex. Id. at 35-36.

         In the Report, the Magistrate Judge alternatively concluded that even if Campbell

  did have an expectation of privacy in the UPS parcel, the UPS employee’s act of opening

  the package, inspecting the contents, and notifying police about the drugs did not violate

  the Fourth Amendment because the employee was a private citizen not acting on behalf

  of the government. Id. at 21-23. Although the UPS employee had searched packages

  destined for “flagged” addresses and notified JSO of their contents on 50 to 100 occasions

  in the past, the Magistrate Judge concluded that the police neither instructed nor compelled

  the employee to open the package. Id. at 7. Rather, the employee opened the package

  on his own initiative pursuant to UPS’s internal policy against shipping contraband. Id. at

  5-6.

         Campbell proceeded to trial on February 9, 2010. At trial, Campbell testified under

  oath that he was the only individual in his family involved in buying and selling marijuana,

  and that his family members neither knew about nor participated in his drug enterprise.

  Trial Tr. Vol. V at 63-64. During his trial testimony, Campbell’s attorney and the prosecutor

  collectively asked him at least three times whether he lived on Praver Drive, and Campbell

                                               7
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 8 of 30 PageID 5961




  denied either renting or residing at the Praver house each time. Id. at 104, 130, 153.

  Campbell did not mention having extensive social ties to the Praver house either. Instead,

  Campbell testified that from 2006 to 2009, he resided at a succession of houses on

  Marianna Road, Napo Drive, and Ponce de Leon Avenue in Jacksonville, Florida, and that

  he resided at a house on Ponce de Leon Avenue when the search occurred. Id. at 107-09.

         With respect to Storage Unit 2002, Campbell testified that the unit belonged to one

  Marc Kredell, and that Campbell had no idea what was in it. Id. at 93. Indeed, Campbell

  testified that he knew nothing about unit 2002 until the trial. Id. at 150. Additionally, with

  respect to the Trevi house, Campbell testified about his relationship with his mother, Sonia

  Dodd, who resided there.       (Affidavit A-5 at ¶¶ 2-3).    Campbell stated that he was

  “somewhat close” with Dodd but that he had not stayed with her since 2006. Trial Tr. Vol.

  V at 118-19. Rather, Campbell said he simply talked to Dodd about twice a week. Id. at

  119.

         The jury found Campbell and his brother guilty of all charges listed in the

  superseding indictment, despite Campbell’s efforts to take responsibility for the entire drug

  enterprise. (Crim. Doc. 259, Jury Verdict as to Fredrick Campbell; Crim. Doc. 260, Jury

  Verdict as to Alex Lee Campbell). Campbell’s sister, Branddie, and his mother, Sonia

  Dodd, each pled guilty, also despite Campbell’s effort to claim they were not involved in his

  drug enterprise. (Crim. Doc. 275, Report and Recommendation on Accepting Branddie

  Campbell’s Guilty Plea; Crim. Doc. 269, Sonia Dodd’s Plea Agreement). At his sentencing

  hearing, the Court found that Campbell deliberately gave perjured testimony. (Crim. Doc.

  344, Sentencing Tr. at 42-44). Specifically, the Court found that Campbell lied under oath

  about his family members’ lack of involvement in the drug conspiracy, the amount of

                                                8
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 9 of 30 PageID 5962




  marijuana Campbell was trafficking, Campbell’s lack of knowledge about Unit 2002, and

  the location of certain shipping and tracking receipts. Id. The Court sentenced Campbell

  to a term of imprisonment of 195 months. (Crim. Doc. 322, Judgment as to Fredrick

  Campbell). Campbell received a term of 60 months for possessing a firearm in furtherance

  of a drug conspiracy, which ran consecutively to a term of 135 months for the underlying

  drug charges. Id.

        Campbell appealed his conviction, sentence, and this Court’s denial of his motion

  to suppress to the Eleventh Circuit Court of Appeals. The Court of Appeals affirmed

  Campbell’s conviction and sentence along with the denial of the motion to suppress.

  United States v. Campbell, 434 F. App’x 805 (11th Cir. 2011). In doing so, the Court of

  Appeals concluded both that Campbell lacked a legitimate expectation of privacy in the

  UPS parcel and in the Praver residence. Id. at 809-10. Rejecting Campbell’s claim of an

  expectation of privacy in the UPS parcel, the Court noted that Campbell was neither the

  sender nor the addressee on the package, and that he “attempted to distance himself from

  the package’s addresee” when he spoke to police. Id. at 809. The Court of Appeals further

  found that Campbell lacked an expectation of privacy in the Praver residence:

        A defendant may have a reasonable expectation of privacy in a home that
        he does not own or rent if he shows “an unrestricted right of occupancy
        or custody and control of the premises as distinguished from occasional
        presence on the premises as a mere guest or invitee.” Baron–Mantilla,
        743 F.2d at 870 (quotations omitted). Where there was testimony that
        a defendant did not live in a searched apartment, as well as testimony that
        someone other than the defendant had leased the apartment, the defendant
        had not shown that he had a reasonable expectation of privacy in the
        apartment. United States v. Brazel, 102 F.3d 1120, 1148 (11th Cir. 1997).


        At trial, Frederick testified that he did not live in the Praver house, and at the
        suppression hearing, the evidence showed that Frederick did not lease the

                                                9
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 10 of 30 PageID 5963




         house. Accordingly, since he did not establish that he was more than a mere
         guest at the Praver house, he did not have standing to challenge the search
         of the house.

  Campbell, 434 F. App’x at 810. After rejecting Campbell’s remaining claims, the Circuit

  Court remanded the case in part for this Court to correct a clerical error in Campbell’s

  judgment, but otherwise affirmed. Id. at 810-12.



         II.   Campbell’s Motion to Vacate

         In his Motion to Vacate, Campbell raises claims of ineffective assistance of counsel

  against Ross Haine (“suppression counsel”), who argued Campbell’s unsuccessful motion

  to suppress, and against Louis Hardin (“trial counsel”). Motion to Vacate at 4. Campbell

  argues that Haine ineffectively litigated his motion to suppress by failing to establish

  Campbell’s expectation of privacy in the UPS package, the Praver residence, and storage

  unit 2002. Supporting Memorandum at 6 n. 1. Specifically, Campbell faults Haine for not

  calling Campbell and various acquaintances as witnesses at the suppression hearing to

  establish Campbell’s standing to challenge the various searches. Campbell asserts that

  he and his friends would have provided testimony proving that Campbell had a legitimate

  expectation of privacy in the parcel, the Praver house, and storage unit 2002. Supporting

  Memorandum at 7, 9 n. 5, 17-24. Campbell further claims that Haine was ineffective for

  “abandoning” a challenge to the searches of storage unit 226 and the Trevi residence, in

  both of which Campbell also claims to have had an expectation of privacy. Supporting

  Memorandum at 7, 14-15. Campbell argues that Haine was professionally unreasonable

  in relying on law enforcement officers’ beliefs that Campbell was the intended recipient of

  the UPS parcel and a resident of the Praver house in order to establish Campbell’s

                                              10
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 11 of 30 PageID 5964




  expectation of privacy therein. Supporting Memorandum at 10. Finally, Campbell argues

  that Haine failed to challenge the searches of the Trevi residence and storage unit 226

  because of an erroneous and unreasonable belief that Campbell lacked an expectation of

  privacy in either location. Campbell argues he had a superior strategy: Haine should have

  called Campbell to testify in the suppression hearing, where Campbell states he would

  have admitted to the entire enterprise in order to establish his expectation of privacy in the

  UPS parcel, the Praver and Trevi residences, and storage units 2002 and 226. See

  Affidavit A-3; Petitioner’s Reply at 19-20.

           With regard to trial counsel, Louis Hardin, Campbell contends counsel provided

  ineffective assistance by not correcting Haine’s alleged errors. Because Haine did not

  summon Campbell at the suppression hearing, Campbell claims Hardin should have

  elicited testimony from Campbell at trial to establish Campbell’s expectation of privacy in

  each of the places and items searched. Id. at 33-35. That way, Campbell argues, the

  record on appeal would have contained sufficient evidence allowing the Circuit Court of

  Appeals to conclude Campbell had expectations of privacy in the package, the Praver and

  Trevi houses, and both storage units, allowing the Court of Appeals to reverse the denial

  of his motion to suppress. Supporting Memorandum at 34-35; see also Petitioner’s Reply

  at 18.

           Campbell attached to his Motion to Vacate several affidavits from himself and others

  purporting to establish Campbell’s expectation of privacy in the Praver house, the Trevi

  house, and the UPS package. In his affidavit, Campbell asserts that he was a frequent

  guest at the Praver house where he would visit to socialize, listen to music, watch

  television, play video games, and occasionally spend the night. Affidavit A-2 at ¶¶ 6-8.

                                                11
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 12 of 30 PageID 5965




  Campbell states that he kept personal possessions at both houses and that he had a key

  to the Trevi house, though not the Praver house. Affidavit A-2 at ¶¶ 9-10; Affidavit A-5 at

  ¶ 3. Campbell claims he often spent the night at both houses, including the night of

  January 7, 2009, at the Praver house - i.e., the night preceding the January 8, 2009 search

  of the Praver house. Affidavit A-2 at ¶ 7. Campbell does not claim that he planned to

  spend the night of January 8, 2009, at the Praver house though. Campbell further avers

  that he was allowed to invite guests to the Praver residence, and that he and various

  friends and girlfriends would spend the night there on occasion. Supporting Memorandum

  at 16-24; Affidavit C-1 at ¶¶ 3-4.

         With the affidavits Campbell also attempts to establish that Haine failed to consult

  Campbell or to adequately investigate Campbell’s case for suppression.              Campbell

  contends that while he did not have a key to the Praver house, he was free to be there any

  time without permission. Affidavit A-2 at ¶ 10. Campbell also asserts that he had a key to

  the Trevi house, he was free to be there at any time without permission, and that he

  frequently stayed the night at the Trevi house. Affidavit A-5 at ¶¶ 4-5. Campbell argues

  that if Haine had done a better investigation, he would have learned of this information and

  summoned Campbell and his family and friends to establish Campbell’s expectation of

  privacy in the Praver and Trevi houses. Supporting Memorandum at 16-24.

         Notably, however, the affidavits attached to Campbell’s Motion to Vacate reveal that

  Haine had certain concerns about having Campbell and one of his proposed witnesses

  testify. According to one affidavit, Campbell raised the issue of testifying in his suppression

  hearing and Haine replied that he did not believe it was a good idea. Haine feared “that the

  government would trip [Campbell] up.” (Doc. 2, Sworn Affidavit of Fredrick Campbell A-1

                                                12
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 13 of 30 PageID 5966




  at ¶ 10). According to Campbell, Haine opined “that it would be bad for the defense if

  [Campbell] testified.” Id. According to another affidavit from one Temario Wiley (a

  roommate of Alex Lee Campbell and a resident of the Praver house), Haine met with Wiley

  and two of Campbell’s friends before the suppression hearing to discuss Campbell’s case.

  (Doc. 2, Sworn Affidavit of Temario Wiley C-2 at ¶ 4). According to Wiley, Haine stated that

  he did not believe Wiley’s testimony could help Campbell, and Haine informed Wiley that

  he did not think Wiley was a credible witness. Id. at ¶¶ 5-6.



         III.   Opinion

         Pursuant to Title 28, United States Code, Section 2255, a person in federal custody

  may move to vacate, set aside, or correct his sentence. Section 2255 permits such

  collateral challenges on four specific grounds: (1) the imposed sentence was in violation

  of the Constitution or laws of the United States; (2) the court did not have jurisdiction to

  impose the sentence; (3) the imposed sentence exceeded the maximum authorized by law;

  or (4) the imposed sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255(a)

  (2008). Only jurisdictional claims, constitutional claims, and claims of error that are so

  fundamentally defective as to cause a complete miscarriage of justice will warrant relief

  through collateral attack. United States v. Addonizio, 442 U.S. 178, 184-86 (1979). A

  petitioner’s challenge to his sentence based on a Sixth Amendment claim of ineffective

  assistance of counsel is normally considered in a collateral attack. United States v.

  Teague, 953 F.2d 1525, 1534 n. 11 (11th Cir. 1992).

         A petitioner cannot use habeas corpus as an avenue for relitigating Fourth



                                              13
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 14 of 30 PageID 5967




  Amendment claims, provided that the petitioner had a “full and fair” opportunity to raise the

  claim in the trial court and on appeal. Stone v. Powell, 428 U.S. 465, 494 (1976).

  However, a habeas petitioner can argue that the ineffective assistance of counsel deprived

  him of a full and fair opportunity to litigate Fourth Amendment claims in the trial court.

  Kimmelman v. Morrison, 477 U.S. 365, 373-83 (1986).

         As with any Sixth Amendment ineffective assistance of counsel claim, a § 2255

  petitioner must demonstrate both: (1) that his counsel’s conduct amounted to

  constitutionally deficient performance, and (2) that his counsel’s deficient performance

  sufficiently prejudiced his defense. Strickland v. Washington, 466 U.S. 668, 687 (1984);

  Weeks v. Jones, 26 F.3d 1030, 1036 (11th Cir. 1994). In determining whether the

  petitioner has satisfied the first requirement, i.e. that counsel performed deficiently, the

  Court adheres to the standard of reasonably effective assistance. Weeks, 26 F.3d at 1036.

  The petitioner must show, in light of all the circumstances, that counsel’s performance fell

  outside the “wide range of professionally competent assistance.” Id. To satisfy the second

  requirement, i.e. that counsel’s deficient performance prejudiced the defendant, the

  petitioner must show that there is a reasonable probability that, but for counsel’s error, the

  result of the proceeding would have been different. Id. at 1036-37 (citing Strickland, 466

  U.S. at 694). In determining whether a petitioner has met the two prongs of deficient

  performance and prejudice, the Court considers the totality of the evidence. Strickland, 466

  U.S. at 695. However, because both prongs are necessary, “there is no reason for a

  court... to approach the inquiry in the same order or even to address both components of

  the inquiry if the defendant makes an insufficient showing on one.” Id. At 697; see also

  Wellington v. Moore, 314 F.3d 1256, 1261 n. 1 (11th Cir. 2002) (“We need not discuss the

                                               14
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 15 of 30 PageID 5968




  performance deficiency component of [petitioner’s] ineffective assistance claim because

  failure to satisfy the prejudice component is dispostive.”).

         In order to establish actual prejudice in the context of an ineffective assistance

  challenge to an attorney’s handling of a Fourth Amendment claim, a petitioner must prove

  both that the underlying Fourth Amendment claim was meritorious and that there is a

  reasonable probability that the verdict would have been different absent the suppressible

  evidence. Kimmelman, 477 U.S. at 375. However, while “a meritorious Fourth Amendment

  issue is necessary to the success of a Sixth Amendment claim... a good Fourth

  Amendment claim alone will not earn a prisoner federal habeas relief.” Id. at 382.

  “Only those habeas petitioners who can prove under Strickland that they have been denied

  a fair trial by the gross incompetence of their attorneys will be granted the writ and will be

  entitled to retrial without the challenged evidence.” Kimmelman, 477 U.S. at 382.



         A. The UPS Package

         Campbell has not shown that Haine ineffectively litigated the motion to suppress by

  failing to establish Campbell’s expectation of privacy in the UPS package. Any attempt to

  show that Campbell had a legitimate privacy interest in the package would have been

  meritless on account of the fact that Campbell attempted to disclaim ownership of the

  parcel when he received it and implied that it belonged to a sibling. The Eleventh Circuit

  Court of Appeals has held that disclaiming ownership or knowledge of an item ends any

  legitimate expectation of privacy in that object. United States v. Hawkins, 681 F.2d 1343,

  1345 (11th Cir. 1982). Because Haine could not show that Campbell had a reasonable



                                               15
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 16 of 30 PageID 5969




  expectation of privacy in the parcel as a matter of law, Campbell has not shown that the

  ineffective assistance of counsel deprived him of a meritorious Fourth Amendment claim.

  Kimmelman, 477 U.S. at 375.

        Additionally, the Magistrate Judge undertook an alternative analysis that assumed

  Campbell did have standing, and concluded that even if Campbell had an expectation of

  privacy in the package, the UPS employee’s act of opening it and informing police of its

  contents did not violate the Fourth Amendment because the employee was a private

  individual acting on behalf of UPS rather than the government. R&R at 21-23. Because

  the UPS employee opened the package pursuant to UPS’s internal policy against shipping

  contraband, and because the government neither requested the private employee to open

  the package nor compensated him for doing so, the Magistrate Judge properly found that

  the private employee’s conduct did not violate the Fourth Amendment. Id. at 21-23 (citing

  United States v. Steiger, 318 F.3d 1039, 1045 (11th Cir. 2003)).

        This Court adopted that Report and Recommendation in its entirety (Crim. Doc. 200,

  Order Adopting Report and Recommendation) and the Eleventh Circuit Court of Appeals

  affirmed this Court’s decision on the merits. United States v. Campbell, 434 F. App’x 805

  (11th Cir. 2011). Although the Circuit Court of Appeals did not analyze the Court’s

  alternative Fourth Amendment analysis as to the UPS package, it also did not disturb that

  conclusion. See id. at 810. Thus, regardless of whether Haine was deficient in failing to

  establish Campbell’s expectation of privacy in the UPS package, no prejudice accrued to

  Campbell because the private employee’s search did not violate the Fourth Amendment

  as a matter of law. Even if Haine had shown Campbell had standing, the Court would still

  have denied Campbell’s motion to suppress the evidence obtained from UPS’s search of

                                             16
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 17 of 30 PageID 5970




  the parcel. Because Campbell’s Fourth Amendment claim concerning the package would

  have failed even if Haine had established Campbell’s privacy interest, Campbell has not

  demonstrated that he has suffered prejudice. Kimmelman, 477 U.S. at 375.



         B. The Praver House

         With regard to the Praver house, the Magistrate Judge concluded that the police

  officers searching the Praver residence exceeded the scope of the search warrant when

  they examined certain lease documents, but that Campbell lacked standing to challenge

  the search of the Praver house. R&R at 27-35. This Court adopted the Report and

  Recommendation in denying Campbell’s motion to suppress. (Crim. Doc. 200, Order

  Adopting Report and Recommendation to Deny Motion to Suppress). Thus, the issue of

  whether Campbell had a legitimate expectation of privacy in the Praver house was

  important, because evidence discovered as a result of the search of the house ultimately

  led to evidence used to establish the quantity of marijuana that Campbell was trafficking.

  (See Crim. Doc. 343, Trial Tr. Vol. VI at 17-21).

         To show that Haine rendered ineffective assistance in litigating Campbell’s challenge

  to the search of the Praver house, Campbell must show that his underlying Fourth

  Amendment claim had merit. Kimmelman, 477 U.S. at 375. Even if the underlying claim

  is meritorious, however, Campbell must also overcome the strong presumption that

  strategic considerations informed counsel’s performance. Id. at 382. Upon reviewing

  Campbell’s argument and the record, the Court concludes that Campbell has not shown

  either that Haine performed deficiently or that his performance prejudiced Campbell.

         As a preliminary matter, it is doubtful that Campbell’s claim that he had a reasonable

                                               17
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 18 of 30 PageID 5971




  expectation of privacy in the Praver house has merit, even assuming as true his statements

  that he maintained some personal possessions at the Praver house, that he was a frequent

  guest there, and that he spent the night of January 7, 2009, at the house. As the Eleventh

  Circuit noted on Campbell’s direct appeal, “[a] defendant may have a reasonable

  expectation of privacy in a home that he does not own or rent if he shows ‘an unrestricted

  right of occupancy or custody and control of the premises as distinguished from occasional

  presence on the premises as a mere guest or invitee.’” Campbell, 434 F. App’x at 810

  (citing United States v. Baron-Mantilla, 743 F.2d 868, 870 (11th Cir. 1984)). However,

  Campbell has not done so.

         The evidence at Campbell’s suppression hearing demonstrated that he neither

  rented nor owned the Praver house. Campbell, 434 F. App’x at 810. Campbell further

  testified that he did not live there either. Id. Under these circumstances, Campbell would

  have to prove “an unrestricted right of occupancy or custody and control of the premises”

  that exceeds that of a guest or invitee. Baron-Mantilla, 743 F.2d at 870. Assuming all of

  Campbell’s sworn statements to be true, he still has not shown such an unrestricted right

  of occupancy or custody and control. Significantly, the occupants of the Praver house did

  not give Campbell a key to the residence. Affidavit A-2 at ¶ 10. Therefore, Campbell had

  to rely on one of the residents either sharing their key with Campbell or unlocking the doors

  for him. Trial Tr. Vol. V at 199. Indeed, one witness testified at trial that on the very day

  of the search in question, he observed Campbell knocking on the door of the Praver house

  for someone to let him in. Id. Such testimony is inconsistent with a person who has an

  unrestricted right of occupancy or custody and control of the premises. Campbell also does

  not allege that he had his own room or exclusive “personal space” at the Praver house.

                                               18
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 19 of 30 PageID 5972




  See United States v. Gray, 491 F.3d 138, 152 (4th Cir. 2007) (defendant’s lack of “private

  space” in another’s house is a factor weighing against finding a reasonable expectation of

  privacy). The absence of an exclusive personal space suggests that Campbell was not

  such a privileged guest at the Praver house that he could depend on a given area being

  available for him to occupy, or that he could expect the residents of the Praver house to

  exclude others from that space. In fact, Campbell was just one among many visitors who

  stayed at the Praver house. Supporting Memorandum at 19-22; Affidavit B-1 at ¶¶ 5-7;

  Affidavit C-1 at ¶¶ 3-4. Thus, while Campbell may have been a frequent guest at the

  Praver house, left some belongings there, and occasionally spent nights in the past, these

  facts paint a picture of someone who was a mere invitee when the search occurred on the

  evening of January 8, 2009, rather than someone with an unrestricted right of occupancy

  or custody and control.

         Nor could Campbell establish a reasonable expectation of privacy as an “overnight

  guest.” See Minnesota v. Olson, 495 U.S. 91 (1990) (overnight guests may have a

  reasonable expectation of privacy in their host’s homes). Although Campbell spent the

  night of January 7, 2009, at the Praver residence, Campbell’s status on the property was

  substantially attenuated from that of an overnight guest by the time police officers searched

  the Praver house at 6:00 pm on January 8, 2009, particularly considering Campbell did not

  plan on spending that night at the Praver house. The fact that a substantial amount of time

  had elapsed since he was an overnight guest, combined with the lack of intent to sleep over

  on the evening of the search in question, weigh considerably against Campbell’s claim that

  his status as an “overnight guest” carried over from the previous night into the following

  evening. See e.g., Hill v. United States, 664 A.2d 347, 352-53 (D.C. 1995) (defendants

                                               19
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 20 of 30 PageID 5973




  were no longer “overnight guests”, although they had spent the previous night at an

  apartment, where the search occurred the following evening and the defendants did not

  plan on spending that evening at the apartment); Ohio v. Corbin, 957 N.E.2d 849, 854-55

  (Ohio Ct. App. 2011) (although defendant frequently stayed the night at girlfriend’s house,

  defendant could not show that he was an overnight guest where he did not intend on

  spending the night of the search at the house, and where he did not contribute to the

  mortgage or utility bills).

         Also relevant is Campbell’s purpose in being at the Praver residence when the

  search occurred. See e.g., Minnesota v. Carter, 525 U.S. 83 (1998) (guests have no

  reasonable expectation of privacy in another’s home when visiting exclusively for a

  commercial purpose); United States v. Cooper, 203 F.3d 1279, 1285 n. 3 (11th Cir. 2000)

  (even overnight guests may lack a reasonable expectation of privacy where they are using

  a hotel room predominantly for narcotics trafficking); United States v. Bell, 218 F. App’x

  885, 895-96 (11th Cir. 2007) (overnight guest in an apartment lacked a reasonable

  expectation of privacy because he was there mainly in connection with his drug enterprise).

  Campbell’s trial testimony indicated that he left the Praver house earlier on the day of

  January 8, 2009, and returned for the purpose of awaiting delivery of the UPS parcel. See

  Trial Tr. Vol. V at 71, 116. Campbell planned to sell the marijuana contained in the

  shipment to various street-level dealers on credit.     Id. at 65-66.   Thus, Campbell’s

  departure and subsequent return for a purpose unrelated to being an overnight guest mark

  a break from whatever “overnight guest” status he previously held, for he was no longer at

  the Praver house for the purpose of seeking repose under the shelter of a kind host.

  Instead, Campbell was present for a quintessentially commercial purpose: to await the

                                              20
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 21 of 30 PageID 5974




  delivery of a product he planned to distribute for a profit. Accordingly, given that the search

  occurred the evening after Campbell was an overnight guest, the fact that Campbell did not

  intend to spend the following night at the house, and evidence that Campbell left the house

  and later returned for a purpose wholly unrelated to being an overnight guest, Campbell

  cannot claim that his expectation of privacy in the Praver house as an overnight guest

  carried over from January 7, 2009, into the evening hours of January 8, 2009.

         Moreover, Campbell’s case bears a striking resemblance to one out of this Court’s

  neighboring Circuit, where the Fourth Circuit Court of Appeals found that a defendant

  lacked standing to challenge the search of another’s apartment because that defendant had

  an essentially commercial relationship with the residence. United States v. Gray, 491 F.3d

  138 (4th Cir. 2007). In Gray, the Fourth Circuit found that a defendant had a primarily

  commercial relationship with a co-defendant’s residence where the parties were running

  a drug ring out of the apartment; maintained digital scales and a large amount of cash

  there; the defendant had drugs on his person when arrested; the defendant did not have

  a key to the residence; the defendant was just one among several visitors to the apartment;

  and the defendant did not plan to spend the night of the search at the residence. Id. at

  146-47. The Court also considered the presence of weapons, a large quantity of drugs,

  and the lack of any “private space” for the defendant to indicate a primarily “commercial

  relationship” with the residence. Id. at 151-52. The Court further determined that just

  because the defendant visited the apartment four to five times per week; watched television

  and played video games there; kept a toothbrush, change of clothes, and a Playstation

  console at the apartment; and slept over in the past did not mean that the defendant could

  overcome the conclusion that the defendant had a primarily commercial connection with

                                                21
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 22 of 30 PageID 5975




  the residence. Id. Here in comparison, Campbell was at the Praver house on the day of

  the search to await the delivery of a large shipment of marijuana from California, which he

  then planned to sell on credit to various street-level dealers. Trial Tr. Vol. V. at 65-66.

  Campbell was thus using the Praver house as a base from which to receive and distribute

  narcotics. When officers searched the Praver house, they found a large quantity of drugs

  and cash, including over $5,000 on Campbell’s person, and more than 100 pounds of

  marijuana. Officers discovered a money counter and four weapons in the Praver house as

  well, including an assault rifle with a 100-round magazine. Like the defendant in Gray,

  Campbell did not have a key to the Praver house, and he was just one among many people

  who stayed at the residence. Further similar to Gray, Campbell did not intend on spending

  the night of the search in question at the Praver house, nor did Campbell indicate he had

  his own exclusive private space there, such as his own room. See Gray, 491 F.3d at 147,

  152. The fact, then, that Campbell kept some personal possessions at the Praver house,

  visited several times a week, and even spent some nights there in the past does not

  establish that he had a reasonable expectation of privacy in the Praver house when the

  search occurred. See id. at 152. Rather, Campbell’s connection to the Praver house was

  more commercial than social on the early evening of January 8, 2009.

         Because the Court finds that Campbell’s underlying claim to have had a reasonable

  expectation of privacy in the Praver house lacks merit, it is unnecessary to address whether

  Haine performed deficiently by not calling Campbell or certain others to testify at the




                                              22
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 23 of 30 PageID 5976




  suppression hearing.5 See Kimmelman, 477 U.S. at 375. As discussed above, even if the

  information about Campbell’s connection to the Praver house was true, it still would not

  establish a legitimate expectation of privacy. Moreover, Campbell has not overcome the

  strong presumption that Haine’s decision was strategic. Strickland, 466 U.S. at 689;

  Chandler v. United States, 218 F.3d 1305, 1314-15 (11th Cir. 2000). Indeed, Campbell’s

  supporting memorandum reveals that Haine gave a strategic reason for not having

  Campbell testify, which was that he feared the government would “trip [him] up” with

  questions. Affidavit A-1 at ¶ 10. In light of conflicting statements that Campbell gave police

  regarding his residence, see R&R at 17, this was surely a valid concern. The affidavit of

  Temario Wiley also reveals that (a) Haine met with potential witnesses beforehand to

  discuss Campbell’s case; (b) Haine determined that he did not think Wiley could provide

  helpful information, and (c) Haine thought Wiley lacked credibility. Affidavit C-1 at ¶¶ 4-6.

  These reflect informed, strategic considerations, which are entitled to deference.

  Strickland, 466 U.S. at 689-91.

          Finally, it was not unreasonable for Haine to resist Campbell’s proposed alternative

  to take the stand in the suppression hearing and admit to the entire crime so that Campbell

  could establish standing to challenge the search of the Praver house. Although the

  government would not have been able to use such testimony as direct evidence of

  Campbell’s guilt at trial, Simmons v. United States, 390 U.S. 377, 394 (1968), it could have


          5
              Campbell also suggests that Haine denied him the right to testify by failing to call him at the
  suppression hearing. First, neither the Supreme Court nor the Eleventh Circuit has explicitly held that the right
  to testify extends to suppression hearings. Lewis v. United States, 491 F. App’x 84, 86 n. 1 (11th Cir. 2012).
  Second, because the Court finds that Campbell’s underlying Fourth Amendment claims fail, and thus any error
  concerning Campbell’s failure to testify did not result in prejudice, the Court need not address whether
  Campbell had a constitutional right to testify at his suppression hearing. See id.


                                                         23
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 24 of 30 PageID 5977




  used the testimony for devastating impeachment. United States v. Quesada-Rosadal, 685

  F.2d 1281 (11th Cir. 1982). A reasonable attorney could have made a sound strategic

  decision to avoid this risk by relying on information other than his client’s testimony.6

          On this record, Campbell has failed to show that Haine performed deficiently in not

  having Campbell and his friends testify at the suppression hearing regarding Campbell’s

  connections to the Praver house.



          C. Storage Unit 226

          As a result of the law enforcement officers’ search of the Praver house, police

  obtained a search warrant for Storage Unit 226, where officers discovered more than

  $500,000 in cash, Alex Campbell’s birth certificate, and mail addressed to Sonia Dodd,

  among other things. Campbell claims that Haine rendered ineffective assistance by

  “abandoning” a challenge to the officers’ search of Storage Unit 226, and by failing to

  establish Campbell’s expectation of privacy in that storage unit.

          The record reflects that Haine did not abandon Campbell’s motion to suppress

  evidence seized from Storage Unit 226. See Motion to Suppress at 1-2. To the contrary,

  Haine did attempt to suppress the evidence obtained from that storage unit, but as the fruit

  of a poisonous tree rather than as evidence discovered during a search that was illegal per


          6
             Campbell correctly points out in his Motion to Vacate that a defendant has the burden of establishing
  his expectation of privacy when moving to suppress evidence allegedly seized in violation of the Fourth
  Amendment. However, this does not mean, as Campbell believes, that a defendant must testify in order to
  prove his expectation of privacy. An exhaustive review of Fourth Amendment case law is not necessary to
  point out that there is no per se rule against a defendant relying on circumstantial evidence, judicial notice,
  cross-examination of the government’s witnesses, as here, or something else to establish a defendant’s
  expectation of privacy. As such, Campbell’s suppression counsel was not necessarily deficient in choosing
  not to call Campbell or some of his friends to testify to Campbell’s asserted social connections to the Praver
  house.

                                                        24
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 25 of 30 PageID 5978




  se. See id. at 1-2, 7-8.

         Neither the Report and Recommendation on Campbell’s motion to suppress nor this

  Court’s order adopting the Report identified any separate illegality in the search of Storage

  Unit 226. See R&R at 27-35; Order Adopting R&R. That being the case, the evidence

  discovered in Storage Unit 226 was only suppressible if it had been the fruit of a prior illegal

  search, such as that of the Praver house.          However, because Campbell lacked an

  expectation of privacy in the Praver house where officers retrieved the rental agreement

  for Unit 226, he could not avail himself of the fruit of the poisonous tree doctrine. United

  States v. Salvucci, 448 U.S. 83, 85, 95 (1980) (the fruit of the poisonous tree doctrine

  applies only when the defendant has standing regarding the Fourth Amendment violation

  which constitutes the poisonous tree). As such, Campbell’s underlying Fourth Amendment

  claim with regard to Storage Unit 226 lacks merit. Therefore, Haine did not render

  ineffective assistance under Kimmelman as to Unit 226. Kimmelman, 477 U.S. at 375

  (requiring that a petitioner’s underlying Fourth Amendment claim must have merit in order

  to establish that an attorney rendered ineffective assistance of counsel in a motion to

  suppress).



         D. The Trevi House

         In his Motion to Vacate, Campbell claims that his attorney gave ineffective

  assistance by failing to establish Campbell’s expectation of privacy in the Trevi house.

  Supporting Memorandum at 15-16.           As with the Praver house, in the Report and

  Recommendation the Magistrate Judge concluded that officers exceeded the scope of their

  search warrant when they inspected lease documents in the Trevi house. R&R at 30-31.

                                                25
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 26 of 30 PageID 5979




  Because one of those lease documents led the officers to obtain a search warrant for

  Storage Unit 2002, where the government seized shipping papers used to establish the

  quantity of marijuana Campbell was trafficking, Trial Tr. Vol. VI at 17-21, the determination

  that Campbell failed to establish an expectation of privacy in the Trevi house was

  significant.

          With regard to his expectation of privacy in the Trevi house, Campbell asserts that

  he kept personal belongings at the house, that he had a key to the house, and that he

  routinely stayed with his mother there. Affidavit A-5 at ¶¶ 3-5.7 However, Campbell’s trial

  testimony affirmatively contradicts this claim. Campbell testified at trial, under oath, that

  he had not stayed with his mother for more than two years preceding the search of the

  Trevi house. Trial Tr. Vol. V at 118-19. Campbell further testified at trial that he only spoke

  to his mother about twice a week. Id. at 119. This testimony is inconsistent with the picture

  Campbell now tries to paint of the Trevi house as a sort of home-away-from-home.

  Campbell’s trial testimony refutes this claim.

          As such, Campbell’s underlying claim to have had a reasonable expectation of

  privacy in the Trevi house lacks merit.             Therefore, Haine did not render ineffective

  assistance by failing to establish Campbell’s unmeritorious claim to have had an

  expectation of privacy in the same. Kimmelman, 477 U.S. at 375.




          7
            While possessing a key to a residence is certainly probative, it is not sufficient to establish a
  reasonable expectation of privacy in another’s home. Baron-Mantilla, 743 F.2d at 870 (citing United States
  v. Rackley, 724 F.2d 1463, 1468 (11th Cir. 1984)).

                                                      26
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 27 of 30 PageID 5980




         E. Storage Unit 2002

         Campbell also claims that Haine rendered ineffective assistance by failing to

  establish Campbell’s expectation of privacy in Storage Unit 2002, from which law

  enforcement officers retrieved an assault rifle and boxes of shipping receipts that were

  used to establish the quantity of marijuana that Campbell and his family were trafficking.

  The record reflects that Haine attempted to suppress the evidence obtained from Storage

  Unit 2002 as the fruit of a poisonous tree rather than as evidence discovered during a

  search that was illegal per se. See Motion to Suppress at 1-2, 7-8.

         Campbell thinks his attorney performed deficiently by not establishing that he had

  an expectation of privacy in Storage Unit 2002. However, a defendant need not establish

  an expectation of privacy in the place where the fruits of a poisonous tree are discovered

  if the defendant had an expectation of privacy in the place or item where the

  unconstitutional predicate search occurred. See e.g., United States v. Olivares-Rangel,

  458 F.3d 1104 (10th Cir. 2006); Wong Sun v. United States, 371 U.S. 471 (1963)

  (suppressing evidence incriminating of the defendant that was discovered in the home of

  another person because it was the fruit of an illegal search). In other words, a defendant

  need not prove an expectation of privacy in the place where the “fruits” are discovered “if

  only he has standing to challenge the violation which constitutes the poisonous tree.”

  LeFave, 6 Search & Seizure § 11.4 (5th Ed.). Because Haine sought to suppress the

  evidence discovered in Storage Unit 2002 as the fruits of a poisonous tree, there was no

  need, as a matter of law, for Haine to separately establish Campbell’s expectation of

  privacy in Storage Unit 2002.     Thus, Haine was not necessarily ineffective for not

  establishing Campbell’s expectation of privacy in this storage unit.

                                              27
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 28 of 30 PageID 5981




         The problem for Campbell is that he lacked a legitimate expectation of privacy in the

  Trevi house where officers exceeded the scope of the warrant when they examined the

  rental agreement for Unit 2002 (i.e., he lacked an expectation of privacy in the “poisonous

  tree”). Because no illegal search occurred at the storage unit itself, Campbell could not

  succeed in suppressing the evidence that was discovered there pursuant to a search

  warrant, even assuming Campbell had established a distinct expectation of privacy in the

  unit. See R&R at 28-35; Salvucci, 448 U.S. at 85, 95 (the fruit of the poisonous tree

  doctrine applies only when the defendant has standing regarding the Fourth Amendment

  violation which constitutes the poisonous tree). Therefore, because Campbell’s Fourth

  Amendment claim as to Storage Unit 2002 would ultimately fail, Haine did not render

  ineffective assistance on this element of Campbell’s claim. Kimmelman, 477 U.S. at 375.

         Moreover, at trial Campbell repeatedly and adamantly denied having any connection

  to Storage Unit 2002. Campbell denied having any possessions in the unit, or even having

  knowledge about the storage unit’s existence. Trial Tr. Vol. V at 93, 95, 150, 177. Haine

  could not plausibly have argued that Campbell had an expectation of privacy in a storage

  unit about which his client insisted he knew nothing.



         F. Trial Counsel’s Performance

         Lastly, Campbell contends that trial counsel Louis Hardin gave ineffective assistance

  by failing to elicit testimony establishing Campbell’s expectation of privacy in the UPS

  parcel, the Praver and Trevi houses, and the storage units during the trial. Supporting

  Memorandum at 33-35. Campbell believes that getting this testimony into the record on

  appeal would have allowed the Eleventh Circuit Court of Appeals to reverse this Court’s

                                              28
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 29 of 30 PageID 5982




  denial of his motion to suppress. Because, as discussed above, Campbell’s underlying

  Fourth Amendment claims ultimately lack merit, Hardin did not render ineffective

  assistance. Kimmelman, 477 U.S. at 375.



         IV. Certificate of Appealability Pursuant to 28 U.S.C. § 2253(c)(1)

         If Campbell seeks issuance of a certificate of appealability, the undersigned opines

  that a certificate of appealability is not warranted. This Court should issue a certificate of

  appealability only if the petitioner makes “a substantial showing of the denial of a

  constitutional right.” 28 U.S.C. § 2253(c)(2). To make this substantial showing, Campbell

  “must demonstrate that reasonable jurists would find the district court’s assessment of the

  constitutional claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004)

  (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)), or that “the issues presented were

  ‘adequate to deserve encouragement to proceed further,’” Miller-El v. Cockrell, 537 U.S.

  322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

         Where a district court has rejected a petitioner’s constitutional claims on the merits,

  the petitioner must demonstrate that reasonable jurists would find the district court’s

  assessment of the constitutional claims debatable or wrong. See Slack, 529 U.S. at 484.

  However, when a district court has rejected a claim on procedural grounds, the petitioner

  must show that “jurists of reason would find it debatable whether the petition states a valid

  claim of the denial of a constitutional right and that jurists of reason would find it debatable

  whether the district court was correct in its procedural ruling.” Id. Upon consideration of

  the record as a whole, this Court will deny a certificate of appealability.



                                                29
Case 3:09-cr-00051-MMH-MCR Document 435 Filed 06/17/15 Page 30 of 30 PageID 5983




          As such, and in accordance with the Rules Governing Section 2255 Cases in the

  United States District Courts, it is hereby

          ORDERED:

          1. Fredrick Campbell’s Motion to Vacate, Set Aside, or Correct Sentence by a

  Person in Federal Custody under 28 U.S.C. § 2255 (Doc. 1, Motion to Vacate) is DENIED.

          2. The Clerk shall enter judgment in favor of the United States and against Fredrick

  Campbell, and close the file.

          3. If Campbell appeals the denial of this petition, the Court denies a certificate of

  appealability. Because this Court has determined that a certificate of appealbility is not

  warranted, the Clerk shall terminate from the pending motions report any motion to proceed

  on appeal as a pauper that may be filed in this case. Such termination shall serve as the

  denial of the motion.

          DONE AND ORDERED at Jacksonville, Florida, this 17th day of June, 2015.




  lc 19

  Copies:
  Counsel of record
  Pro se party




                                                30
